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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                           ROME DIVISION

JARROD JOHNSON, individually, and           )
on Behalf of a Class of persons similarly   )
situated,                                   )
                                            )
                   Plaintiff,               )
                                            )
      V.                                    )
                                            )
3M COMPANY; ALADDIN
MANUFACTURING CORPORATION;                  �
AMERICHEM, INC.; ARROWSTAR,                 )
LLC; CHEM-TECH FINISHERS, INC.;             )
COLOR EXPRESS, INC.; COLUMBIA               )
RECYCLING CORP.; CYCLE TEX,                 )
INC.; DAIKIN AMERICA, INC.; THE             )
CITY OF DALTON, GEORGIA, acting                 Civil Action No. 4:20-cv-0008-AT
                                            )
through its BOARD OF WATER,                 )   TRIAL BY JURY REQUESTED
LIGHT AND SINKING FUND                      )
COMMISSIONERS, d/b/a DALTON                 )   Complaint - Class Action
UTILITIES; DALTON/WHITFIELD                 )
REGIONAL SOLID WASTE                        )
AUTHORITY; DYSTAR, LP; E.I. DU              )
PONT DE NEMOURS AND
COMPANY; ENGINEERED FLOORS,                 �
LLC; FIBRO CHEM, LLC; GREEN                 )
VULTURE, LLC; IMACC                         )
CORPORATION; INV                            )
PERFORMANCE SURFACES, LLC;                  )
J&S RUG COMPANY, INC. D/B/A
LOG CABIN COMPANY; JB NSD,                  �
INC.; MFG CHEMICAL, LLC;                    )
MILLIKEN & COMPANY; MOHAWK                  )
CARPET, LLC; MOHAWK                         )
INDUSTRIES, INC.; ORIENTAL
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